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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION

CHARLES CLEMONS                                          CIVIL ACTION NO. 20-1465

                                                         SECTION P
VS.
                                                         JUDGE TERRY A. DOUGHTY

JAMES LEBLANC                                            MAG. JUDGE KAREN L. HAYES

                                          JUDGMENT

       The Report and Recommendation of the Magistrate Judge [Doc. No. 4] having been

considered, together with the written Objection [Doc. No. 5] thereto filed with this Court, and,

after a de novo review of the record, finding that the Magistrate Judge’s Report and

Recommendation is correct and that judgment as recommended therein is warranted,

       IT IS ORDERED, ADJUDGED, AND DECREED that Petitioner Charles Clemons’s

Petition for writ of habeas corpus is DENIED and DISMISSED WITH PREJUDICE.

       MONROE, LOUISIANA, this 12th day of January, 2021.



                                                  ______________________________________
                                                  TERRY A. DOUGHTY
                                                  UNITED STATES DISTRICT JUDGE
